Case 8:18-cv-00617-TPB-TGW Document 254-1 Filed 10/30/19 Page 1 of 32 PageID 11611




                         Exhibit A
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   (r2)   United States Patent                                                 1ro;   Patent      No.: US 9,597,536 B1
          Moore                                                                1+r;   Date of     Patent: Mar.2l,20l7
   (54) QUINT CONFIGUR{TION FIRE APPARATUS                                       3,675,721  A        7i   1972 Davidson et al.
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   (71) Applicant: Oshkosh Corporation, Oshkosh, WI                              3,789,869  A        211974 Morris
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   (72) Inventor:       Michael R. Moore, New London, WI                         4,556,200 A        l2il985     Shoemaker
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   (73)    Assignee: Oshkosh Corporation, Oshkosh, WI                                    FOREIGN PAIENT DOCUMENTS
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   (*   ) Notice:       Subject to any disclaimer, the term of this       DE                 36 40 944 At         6i 1988
                        patent is extended or adjusted under 35                                           (Continued)
                        U.S.C. 154(b) by 0 days.
                                                                                               O'IHBR PUtsLICATIONS
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                                                                          U.S. Appl. No. 08/046,623, filed Apr. 14, 1993, Schmitz et al.
   (22) Filed:          Nov. 14, 2016                                                                     (Continued)

                  Related U.S. Application Data                          Printarl, Exanriner                    O Hall
                                                                                             -,\rlhur
   (63)    Continuation of application No. l4/552,252, filed on          Assistant Examiner
                                                                                              -
                                                                                                  Adarn J Rogers
           Nov. 24, 2014, uow Pat. No. 9,504.863.                         (74) Attornel,, Agent, or Finn    Foley &              Lardner LLP
                                                                                                         -
   (51) Int.   Cl.                                                        (57)                        ABSTRACT
           A62C 27/00                (2006.0r)                            A quint conliguration fire apparatus includes a ladder assem-
           8608 3s/00                (2006.01)                            bly and a single rear axle coupled to a chassis. The single
           B60G 11/10                (2006.01)                            rear axle includes either a single solid axle configuration
   (s2) u.s. cl.                                                          extending laterally across the chassis or a first axle having                  a
           CPC ............ A62C 27/00 (2013.01); Ij60lJ 35/004           first constant velocity joint and a second axle having a
                                (2013.01); B60G 1U10 (2013.01)            second constant velocity joint. The ladder assembly is
   (58)    Field of Classification Search                                 cxtcnsiblc to provide a horizontal reach of at least 90 fcet
           CPC ............ A62C 27lOO; A62C 13178; A62C 3t07             and a vertical height of at least 95 feet and configured to
           usPC      ............                       169t51-54         support a tip load of at least 750 pounds. A water tank is
           See application   file for complete search history.            configured to contain at least 500 gallons of *'ater. The
                                                                          center of gravity of at least one of the chassis, a body
   (56)                    References Cited                               assernbly, a prunp, and the water tank are positioned to
                                                                          counterbalance a uromert gelerated by the tip load with the
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                                                                          ladder assenrbly extended to the horizontal reach ofat least
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                                        FIG. 7
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                                      FIG. 8
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          QUINT CONFIGURATION FIRE APPARATUS                                ing laterally across the chassis or a first axle having a first
                                                                            constant velocity joint and a secotrd axle having a second
              CROSS-REFERENCE TO RELAIED PATENI                             constant velocity joint, the first axle and rhe second axle
                               APPI,ICATION'                                extending from opposing lateral sides ofa differential. The
                                                                         , ladder assembly is extensible to provide a horizontal reach
           This is a continuation of U.S. application Ser. No. 141552,      of at least 90 feet and configured to support a tip load of at
       252, fiLed Nov. 24. 2074. and is related to U.S. application         least 750 pounds. The water tank is configured to contain at
       Ser. No. 151089,137 , filed Apr. l, 2016, which is a conlinu-        least 5@ gallons ofwater. The center ofgravity ofat least
       ation of U.S. application Ser. No. 141552,240, filed Nov. 24,        one of the chassis, the body assembly, the pump, and the
       2014; U.S. application Ser. No. 14/552,293, filed Nov. 24, lt) water tank are positioned to counterbalance a moment
       2014; U.S. application Ser. No. 14/552,283, filed Nov.24,            generated by the tip load with the ladder assembly extended
       2014; U.S. application Ser. No. 141552,260, filed Nov.24,            to the horizontal reach of at least 90 feet.
       2014, now U.S. Pat. No. 9,302,129; and U.S. application                 Another embodiment relales to a method of manufactur-
       Ser. No. 14/552,275, filed Nov. 24. 2O14; all of which are           ing a quint configwation fire apparatus. The method of
       incorporated herein by reference in their entireties.             15 manufacturing a quint configuration fire apparafts includes

                                                                            providing a chassis, coupling a body assembly to the chassis,
                               BACKGROUND                                   the body assembly having a storage area configured to
                                                                            receive a ground ladder and a fire hose, positioning a pump
           Aquint configuration fire apparatus (e,g., a fire tmck, etc.)    within a pump house of the body assembly, disposing a
       includes an aerial ladder, a water tank, ground ladders, a 20 water tank within the body assembly, pivotally coupling a
       water pump, and hose storage. Aerial ladders may be clas-            ladder assembly to the chassis, and supporting at least a
       sified according to their horizontal reach and vertical exten-       portion of the weight of the chassis, the body assembly, the
       sion height. Traditionally, weight is added to the fire appa-        pump, the water tank, the ladder assembly, the ground
       ratus (e.g., by making the various components heavier or             ladder, and rhe fire hose with a single front axle and a single
       larger, etc.) in order to increase the horizontal reach or 25 rear axle. The single rear axle includes either a single solid
       vertical extension height of the aerial ladder. Traditional          axle configuration extending laterally across tle chassis or a
       quint configuration fire trucks have included a second rear          first axle having a first constant velocity joint and a second
       axle to carry the weight required to provide the desired aerial      axle having a second constant velocity joint, the first axle
       ladder horizontal reach and vertical extension height. Such          and the second axle extending from opposing lateral sides of
       vehicles can therelbre be more heavy, diflicult to maneuver, 30 a ditrerential. The ladder assembly is extensible to provide
       and expensive to manufacture.                                        a horizontal reach of at least 90 feet and con-figured to
                                                                            support a tip load of at least 750 pounds. The water tank is
                                  SUMMARY                                   configured to contain at least 500 gallons of water. The
                                                                            center of gravity of at least one of the chassis, the body
           One embodiment relates to a quint configuration fue :s assembly, the pump, and the water tank are positioned to
       apparatus. The quint conliguration fue apparatus includes a          counterbalance a moment generzted by the tip load with the
       chassis, a body assembly coupled to the chassis and having           ladder assembly extended to the horizontal reach ofat least
       a storage area configured to receive a ground ladder and a           90 feet.
       fire hose, a pump coupled to the chassis, a water tank                  The invention is capable of other embodiments and of
       coupled to the chassis, a ladder assembly including a plu- 40 being carried out in various ways. Alternative exemplary
       rality of extensible ladder sections. the ladder assembly            embodiments relate to other features and combinations of
       having a proximal end that is coupled to the chassis. a single       feafures as may be reciled herein.
       front axle coupled to a front end ofthe chassis, and a single
       rear axle coupled to a rear end ofthe chassis. The single rear              BRIEF DESCRIPT]ON OF THE DRAWINGS
       axle includes either a single solid axle configuration extend- as
       ing laterally across the chassis or a first axle having a first         The disclosure will become rnore fully understood from
       constant velocity joint and a second axle having a second            the following detailed description, taken in conjunction with
       constant velocity ioint, the first axle and the second axle          the accompanying figures, wherein like reference numerals
       extending from opposing lateral sides ofa differential. The          refer to like elements, in which:
       ladder assembly is extensible to provide a horizontal reach so          FlG. 1 is a front perspective view of a fire apparatus,
       ofat least 90 feet and a vertical height ofat least 95 feet and      according to an exemplary embodiment;
       configured to support a tip load ofat least 750 pounds. The             FIG. 2 is a rear perspective vierv of the fue apparatus of
       water tank is configured to contain at least 500 gallons of          FIG. 1. according to an exemplary embodiment;
       water. The center of gravit-v of at least one of the chassis, the       FIG. 3 is a left side view of the fire apparatus of FIG. 1,
       body assembly, the pump, and the water tank are positioned ss according to an exemplary ernbodiment;
       to counterbalance a moment generaled by the tip load with               FIG. 4 is a right side view of the fue apparatus of FIG. I,
       the ladder assernbly extended to the horizontal reach of at          according to an exeruplary embodirnent;
       Ieast 90 lbet.                                                          FIG. 5 is a rear perspective view ofa water tank ofthe fire
           Another embodiment relates to a fire apparatus. The fue          apparatus of FIG. 1, according to an exemplary embodi-
       apparatus includes, a chassis, a body assembly coupled to oo ment;
       the chassis and configured to receive a ground ladder, a fire           FIG. 6 is a front perspective view- of various intemal
       hose, a pump, and a water tank, a ladder asscmbly including          components of the fire apparatus of FIG. l, according to an
       a plurality ofextensible ladder sections, the ladder assembly        exemplary embodiment;
       having a proximal end that is coupled to the chassis. a single           FIG. 7 is a front view of the fire apparatus of FIG. 1,
       fronl axle coupled to the front end ofthe chassis, and a single os according to an exemplary embodiment;
       rear axle coupled 1o a rear end ofthe chassis. The single rear           FIG. 8 is a rear view of the fire apparatus of FIG. 1,
       axle includes either a single solid axle configuration extend-       according to an exemplary embodiment;
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      FIG. 9 is a top view of the fire apparatus of FlG. 1,              in turn, is traditionally carried by a requisite tandem rear
    according to an exemplary embodinrenl;                               axle. A tandem rear axle may include two solid axle con-
      FIG. 10 is a bottom view of the fire apparatus of FIG. L,          figurations or rnay include two pairs of axles (e.g., two pairs
    according to an exemplary embodiment;                                of half shafts, etc.) each having a set of constant velocity
       FIG. 11 is a perspective view ofa front suspension ofthe      s   joints and coupling two diferentials to two pairs of hub
    fue apparatus of FIG. 1, according to an exemplary embodi-           assemblies. A single rear axle chassis rnay include one solid
    melrt;                                                               axle configuration or may include one pair of axles each
       FIG. 12 is a perspective view ofa rear suspension ofthe           having a set of constant velocity joints and coupling a
    fire apparatus of FIG. 1., according to an exemplary embodi-         differential to a pair ofhub assemblies, according to various
    ment;                                                             ro altemative embodiments. According to an exemplary
        FIG. 13 is a left side view ofa single set ofoutriggers and      embodiment, the aerial ladder assembly of the quint con-
     a stability foot provided with the fire apparatus of FIG. 1,        figuration fue apparatus is operable at a vertical extension
     according to an exemplary embodiment;                               height of at least 95 feet (e.g., 105 feet, 107 feet, etc.) and
        FIG. 14 is a rear view of the single set of outriggers and       at least 90 l-eet (e.g., at least 100 feet, etc.) ofhorizontal
    the stability foot of FIG. 13 in an extended configuration, ts reach with a tip capacity of at least 750 pounds. The weight
     according to an exemplary ernbodiment;                              ofthe chassis and other components is supported by a single
        FIG. 15 is a partial view the single set of outriggers of        rear axle chassis, thereby reducing cost and increasing
     FIG. 13, according to an exemplalv embodiment;                      maneuverability relative to traditional vehicles.
        FIG. 16 is a left side view of the fire apparatus of FIG. I         According to the exemplary embodiment shown in FIGS.
    with an aerial ladder assembly extended, accordilg to an 20 l-12. a vehiclg shown as a fue apparatus 10, includes a
     exemplary embodiment;                                               chassis, shown as a frame 12, that defines a longitudinal axis
        FIG. 17 is a right side view of the fire apparatus of FIG.       14. Abody assembly, shown as rear section 16, axles 18, and
     1 with an aerial ladder assembly extended, according to an          a cab assembly, shown as front cabin 20, are coupled to the
     exemplary embodiment;                                               frame 12. In one embodiment, the longitudinal axis 14
        FIG. 18 is a top view of the fire apparatus of FIG. 1 with 25 extends along a direction defined by at least one of a first
    the single set of outriggers exterded and an aerial ladder           frame rail 1l and a second frame rail 13 ofthe frame 12 (e.9.,
    assembly positioned forward, according to an exemplary               front-to-back etc.).
     embodiment;                                                            Refering to the exemplary embodiment shown in FIG. 1,
        FIG. 19 is a top view of the fire apparatus of FIG. I with       the front cabin 20 is positioned forward ofthe rear section
    the single set of outriggers extended and an aerial ladder 30 16 (e.9., with respect to a forward direction of travel for the
    assembly positioned at a forward angle, according to an              vehicle along the longitudinal axis 14, etc.). According to an
    exemplary embodiment;                                                altemative embodiment, the cab assembly may be posi-
        FIG. 20 is a top view of the fire apparatus of FIG. I with       tioned behind the rear section 16 (e.g., with respect to a
    the single set of outriggers extendcd and an aerial ladder           forward direction oftravel for the vehicle along the longi-
    assembly positioned to one side, according to an exemplary :s tudinal axis 14, etc.). The cab assembly may be positioned
    embodiment; and                                                      behind the rear section 16 on, by way ofexample, a rear tiller
        FIG. 21 is a top view of the fire apparatus of FIG. I with       fire apparatus. In some embodiments, the fire apparatus 10
    the single set of outriggers extended and an aerial ladder           is a ladder truck with a front portion that includes the front
    assembly positioned both at a rearward angle and backward,           cabin 20 pivotally coupled to a rear portion that includes the
    according to an exemplary embodiment.                             40 rear section 16.
                                                                            As shown in FIGS. 2 and 8, the fire apparatus l0 also
                      DETAILED DESCRIPTION                               includes ground ladders 46. The ground ladders 46 are
                                                                         stored within compartments that are closed with doors 30.
        Before tuming to the figures, which illustrate the exem-         As shown in FIGS. 2 and 8, the fire apparatus L0 includes
    plary embodiments in detail, it should be understood that the 45 two storage compartments and doors 30, each to store one or
    present application is not lirnited to the details or metltod-       more individual ground ladders 46. In other embodiments,
    ology set forth in the description or illustrated in the figures.    only one storage comparhnent and door 30 is included to
    It should also be understood that the temrinology is for the         store one or more ground ladders 46. In still other embodi-
    purpose of description only and should not be regarded as            ments, three or more storage compartments and doors 30 are
    limiting.                                                         so included to store three or more ground ladders 46. As shown
       According to an exemplary embodiment, a quint configu-            in FIGS. 2 and 8, a hose chute 42 is provided on each lateral
    ration fire apparatus includes a water tank, an aerial ladder,       side at the rear of the fire apparatus 10. The hose chutes 42
    hose storage, ground ladders, a water pump, and a single rear        define a passageway where one or more hoses may be
    axle. While some traditional quint configuration flre trucks         disposed once pulled from a hose storage location, shown as
    have a ladder assembly mounted on a single rear axle 55 hose storage platform 36. The fire apparatus 10 includes
    chassis, the ladder assernbly of such fire trucks traditionally      additional storage. shown as storage compartments 32 and
    lras a vertical extension height of75-80 Get and 67-72 feet          68. to store miscellaneous items and gear used by emeryency
    of horizontal reach. V'ertical extension height rnay include         response personnel (e.g., helmets: axes, oxygen tanks, medi-
    the distance from the upper-most mng of the ladder assern-           cal kits, etc.).
    bly to the ground w'hen the ladder assembly is ftilly 60 As shown in FIGS. I and7, the fire apparatus L0 includes
    extended. Reach may include the horizontal distance from             an engine 60. In one embodiment, the engine 60 is coupled
    the point of rotalion (e.g., point of connection of a ladder         to the frarne 12. According to an exemplary embodiment, the
    assembly to a fire apparatus, etc.) to the furthest rung when        engine 60 receives fuel (e.g., gasoline, diesel, etc.) frorn a
    the ladder assembly is extended. Increasing vertical exten-          fuel tank and combusts the fuel to generate mechanical
    sion height or horizontal reach is traditionally achieved by 6s energy. A transnrission receives the mechanical energy and
    increasing the weight of various components (e.g., the aerial        provides an output to a drive shaft. The rotating drive shaft
    ladder assembly, the turnlable, elc.). The increased weighl,         is received by a dillerential, which conveys lhe rotalional
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       energy   ofthe drive shaft to a final drive (e.g., wheels, etc.).           According to the exernplary embodirnent shown in FIGS.
       The final drive then propels or moves the fire apparatus 10.             1-2, the first end 202 of the aerial ladder assembly 200 is
       According to an exemplary embodiment, the engine 60 is a                 pivotally coupled to the tumtable 300. An actuator, shown as
       compression-ignition intemal combustion engine that uti-                 cylinder 56, is positioned to rotate the aerial ladder assembly
       lizes diesel fuel. In altemative embodiments, the engine 60         s    200 about a horizontal axis 44. The actuator may be a linear
       is another type of device (e.g., spark-ignition engine, fuel             actuator, a rotary actuatot or still another type ofdevice and
       cell, electric motor, etc.) that is otherwise powered (e.g.,             may he powered hydraulically, electrically, or still otherwise
       with gasoline, compressed natural gas, hydrogen, electricity,            powcred. In one ernbodiment, aerial ladder assembly 200 is
       etc.).
                                                                                rotatable between a lowered position (e.g., the position
                                                                           10   shown in FIG. 1, etc.) and a raised position. The aerial ladder
          As shown in FIGS. 1-2, the fire apparatus 10 is a quint
                                                                                assembly 200 may be generally horizontal or an angle (e.g.,
       conflguration fue truck that includes a ladder        assembly,
                                                                                10 degrees, etc.) below the horizontal when disposecl in the
       shown as aerial ladder assembly 200, and a tumtable assem-
                                                                                lowered position (e.g. a stored position, etc.). In one
       bly, shown as tumtable 300. The aerial ladder assembly 200               embodiment, extension and retraction ofcylinders 56 rotates
       includes a first end 202 (e.9., base end, proximal end, pivot       ,,   aerial ladder assembly 200 about the horizontal axis 44 and
       end, etc.) and a second end204 (e.g., free end, distal end,              raises or lowers, respectively. the second end 204 of aerial
       platforrn end, implement end, etc.). As shown in FIGS. L-2,              ladder assembly 200. In the raised position, the aerial ladder
       the aerial ladder assembly 200 includes a plurality of ladder            assembly 200 allows access between the ground and an
       sections.   In some embodiments, the plurality of sections of            elevated height for a fire fighter or a person being aided by
       the aerial ladder assembly 200 is extendable. An actuator u0             the fire fighter.
       may selectively reconfigure the aerial ladder assembly 200                  According to the exemplary embodiment shown in FIG.
       between an extended configuration and a retracted configu-               5, a reservoir, shown as water tank 58, is coupled to the
       ration. By way of example, aerial ladder assembly 200 may                frame 12 with a superslructure. In one embodiment, the
       include a plurality of nesting sections that tetescope with              water tank 58 is located within the rear section 16 and below
       respect to one another. ln the extended configuration (e.g., zs          the hose storage platlbnn 36. As shown in FIG. 5, the water
       deployed position, use position, etc.), the aerial ladder         tank 58 is coupled to the frame 12 with a tubular component,
       assembly 200 is lengthened, and the second end 204 is             shown as torque box 400. In one embodiment, the water tank
       extended away from the first end 202. In the retracted            58 stores at least 500 gallons of water. In other embodi-
       configuration (e.g., storage position, transport position, etc.), ments, the reservoir stores another firefighting agent (e.g.,
       rhe aerial ladder assembly 200 is shortened, and the second :o foam, etc.). According to the exemplary embodiment shown
       end 204 is withdrawn towards the first errd 2O2.                  in FIGS. 2 and 5, the watertank 58 is filledwith a fill dome,
          According to an exemplary embodiment, the first end 202        shown as fi1l dome 34.
       of rhe aerial ladder assembly 200 is coupled to the frame 12.        As shown in FIGS. 1-2, the fire apparatus l0 includes a
       By way of example, aerial ladder assembly 200 may be              pump house, shown as pump house 50. A pump 22 r::ray be
       directly coupled to frame 12 or indirectly coupled to fuame 35 disposed within the pump house 50. By way of example, the
       12 (e.g., with an intermediate superstructure, etc.). As shown    pump house 50 may include a pump panel having an inlet for
       in FIGS. l-2, lhe fust end 202 of the aerial ladder assembly      the entrance of water from an extemal source (e.g., a fire
       200 is coupled to the tuintable 300. The turntable 300 may        hydrant, etc.). As shown in FIG.2, an auxiliary inlet, shown
       be directly or indirectly coupled to the frame 12 (e.g., with     as inlet 28, is provided at the rear ofthe fire apparatus 10.
       an intermediate superstructure, via rear section 16, etc.). As +o The pump house 50 may include an outlet configured to
       shown in FIG. 1, the turntable 300 includes a railing             engage a hose. The pump 22 may pump fluid through the
       assembly, shown as hand rails 302, and guard rails, shown         hose to extinguish a fire (e.g., water from the inlet of the
       as guard rails 304. The hand rails 302 provide support for        pump house 50, water from the inlet 28, water stored in the
       operators aboard the tumtable 300. The guard rails 304 are        water tank 58, etc.).
       coupled to the hand rails 302 and provide two entrances to 45        Referring still to the exemplary embodiment shown in
       the tunrtable 300. An operator may provide a force to rotate      FIGS. 1-2, an irnplernent, shown as nozde 38 (e.g., deluge
       the guard rails 304 open and gain access to the tumtable 300.     gun, water cannon, deck gun, etc.), is disposed at the second
       In the embodiment shown in FIG. 2, the tumtable 300 rotates       end 204 of the aerial ladder assembly 200. The nozde 38 is
       relative to the frame 12 about a generally vertical axis 40.      connected to a water source (e.g., the water tank 58, an
       According to an exemplary embodiment. the tumtable 300 so external source. etc.) via an intermediate conduit extending
       is rotatable a full 360 degrees relative to the frame 12. In      along the aerial ladder assembly 200 (e.g., along the side of
       other embodiments, the rotation of the tumtable 300 relative      the aerial ladder assembly 200, beneath the aerial ladder
       to the frame 12 is linrited to a range ofless than 360 degrees,   assembly 200, in a chamel provided in the aerial ladder
       or the turntable 300 is fixed relative to the frame 12. As        assembly 200, etc.). By pivoting the aerial ladder assembly
       shown in FIGS. f-4, the rear section 16 includes a pair of ss 200 into the raised position, the nozzle 38 may be elevated
       ladders 26 positioned on opposing lateral sides of the fue        to expel rvater from a ligJrer elevation to facilitate suppress-
       apparatus 10. As shown in FIGS. 1-2, the ladders 26 are           ing a fire. In sone embodiments, the second end 204 of the
       coupled to the rear section 16 with hinges. An operator (e.g.,    aerial ladder assenrbly 200 includes a basket. The basket
       a fire fighter etc.) may access the turntable 300 by climbing     may be configured to hold at least one of fire fighters and
       either one ofthe ladders 26 and enlering through the guard oo persons being aided by the fire fighters. The basket provides
       rails 304. According to the exemplary embodiment shown in         a platform from rvhich a fire fighter may complete various
       FIGS. I -2, tlre turntable 300 is positioned at the rear cnd of   tasks (e.g., opcratc the nozzlc 38, create ventilation, over-
       the rear section 16 (e.g., rear mount, etc.). In other embodi-    haul a bumed area, perform a rescue operation, etc.).
       ments, the turntable 300 is positioned at the front end of the       According 10 the exemplary embodiment shown in FIGS.
       rear section 16, proximate the front cabin 20 (e.g., mid os 5-6, the torque box 400 is coupled to the frame 12. In one
       mount, etc.). In still other embodiments, the flrmtable 300 is    ernbodiment. the torque box 400 extends the full width
       disposed along front cabin 20 (e.g., front mourt, etc.).          between the latera'l t:utsides of the first frame rail 11 and the
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    second frame rail 13 of the frame 12. The torque box 400           66, includes a pair of leaf spring systems. The rear suspen-
    includes a body portion having a first end 404 and a second        sion 66 may couple the single solid axle configuration ofthe
    end 406. As shown in FIG. 5. a pedestal, shown as pedestal         single rear axle 18 to the liarne 12. In one embodiment, the
    402, is attached to the lirst end 404 ofthe torque box 400.        single rear axle 18 has a gross axle weight rating of no more
    In one embodiment, the pedestal 402 is disposed rearward of      s than (i.e., less than or equal to, etc.) 33,500 pounds. In other
    (i.e., behind, etc.) the single rear axle 18. The pedestal 402     embodiments, a first axle shaft assembly 52 has a first set of
    couples the tumtable 300 to the torque box 400. The                constant velocity joints and a second axle shaft assembly 52
    turntable 300 rotatably couples the first end 202 ofthe aerial     has a scrcond set of constant velocity joints. The first axle
    ladder assembly 200 to the pedestal 402 such that the aerial       assembly 52 and the second axle assembly 52 may extend
     Iadder assembly 200 is selectively repositionable into a 10 from opposing lateral sides ofthe differential 62, coupling
     plurality of operating orientations. According to the exem-       the differential 62 to the pair of hub assemblies 64. As shown
     plary embodiment shown in FIGS. 3-4, a single set of              in FIGS. 10-11, a front suspension, shown as front suspen-
     outriggers, shown as outriggers 100. includes a first outrig-     sion 54, for the front axle 18 includes a pair of independent
     ger 110 and a second outrigger 120. As shown in FIGS. 3-4,        suspension assemblies. In one embodiment, the fi'ont axle L8
     the first outrigger 110 and the second outrigger 120 are ls has a gross axle weight rating of no more than 33,500
     attached to the second end 406 ofthe torque box 400 in front     pounds.
     ofthe single rear axle 18 and disposed on opposing lateral           According to the exemplary embodiment shown in FIGS.
     sides of the fire apparatus 10. As shown in FIGS. l-4. the        1-12. the aerial ladder assembly 200 forms a cantilever
     outriggers 100 are moveably coupled to the torque box 400         structure when at least one of raised vertically and extended
     and may extend outward, away from the longitudinal axis 20 horizoffally. The aerial ladder assembly 200 is supportd by
     14, and parallel to a lateral axis 24. According to an            the cylinders 56 and by the turntable 300 at the first end 202.
     exemplary embodiment, the outriggers 100 extend to a              The aerial ladder assembly 200 supports static loading from
     distance of eighteen feet (e.g., measured between the center      its own weight, the weight of any equipment coupled to the
     ofa pad ofthe first outrigger 110 and the center ofa pad of       ladder (e.g., the nozzle 38, a water line coupled to the nozzle,
     the second outrigger 120, etc.). In other embodiments. the zs a platlbrm, etc.), and the weiglrt of any persons using the
     outriggers 100 extend to a distance of less than or greater       ladder. The aerial ladder assembly 200 may also zupport
     than eighteen feet. An actuatormay be positioned to extend       various dynamic loads (e.g., due to forces imparted by a fire
     portions of each of the flrst outrigger 110 and the second        fighter climbing the aerial ladder assembly 200, wind load-
     outrigger 120 towards the ground. The actuator may be a           ing. loading due to rotation, elevation, or extension ofaerial
     linear actuator, a rctary actuato! or still another type of :o ladder assembly, etc.). Such static and dynamic loads are
     device and may be powered hydraulically, electrically, or        carried by the aerial ladder assembly 200. The forces carried
     still otherwise powered.                                         by the cylinders 56, the turntable 300, and the frame 12 may
         According to the exemplary embodiment shown in FIGS.         be proportional (e.g., directly prcportional, etc.) to the
     3-5, a stability foot, shown as stability foot 130, is attached  length of the aerial ladder assembly 200. At least one olthe
    to the first end 404 of the torque box 400. An actuator (e.9., rs weight of the aerial ladder assembly 200, the weight of the
     a linear acfuator, a rotary actuator, etc.) may be positioned to turntable 300, the weight of the cylinders 56, and the weight
    extend a portion ofthe stability foot 130 towards the ground.     ofthe torque box 400 is traditionally increased to increase at
    Both the outriggers 100 and the stability foot 130 are used       least one ofthe extension height rating, the horizontal reach
    to support the fire apparatus L0 (e.g., while stationary and in   rating, the static load rating, and the dynamic load rating.
    use to fight fires, etc.). According to an exemplary embodi- 40 Such vehicles traditionally require the use of a chassis
    rnent. with the outriggers 100 and stability foot 130             having a tandem rear axle. However, the aerial ladder
    extended, the fire apparatus 10 can withstand a tip capacity      assembly 200 of the fire apparatus 10 has an increased
    ofat least 750 pounds applied to the last rung on the second      extension height rating and horizontal reach rating without
     end 204 of the aerial ladder assembly 200 while fully            requiring a chassis having a tandem rear axle (e.9., a tandem
    extended (e.9., to provide a horizontal reach of at least 90 +s axle assembly, etc.). According to the exemplary embodi-
    feet, to provide a horizoutal reach ofat least 100 feet, to       ment shown in FIGS. 1-12, the fire apparatus 10 having a
    provide a vertical extension height of at least 95 feet, to       single rear axle 18 is lighter substantially less difficult to
    provide a vertical extension height of at least 105 feet, to      maneuver, and less expensive lo manufacfure than a fire
    provide a vertical extension height ofat least 107 feet, etc.).   apparatus having a tandem rear axle.
    The outriggers 100 and the stability foot 130 are positioned     50   According to the exemplary embodiment shown in FIGS.
    to transfer the loading from the aerial ladder assembly 200       13-21, the first outrigger 110, the second outrigger 120, and
    to the ground. For example. a load applied to the aerial          the stability foot 130 stabilize the fire apparatus l0 when the
    ladder assembly 200 (e.g., a fire fighter at the second end       aerial ladder assembly 200 is in opration (e.g., being used
    204, a wind load, etc.) may be conveyed into to the turntable     to extinguish a fire with lhe nozzle 38. extended to rescue
    300, through the pedesral 402 and the torque box 400, and ss pedestrians from a building, etc.). As shown in FIG. 13, the
    into the ground through at least one ofthe outriggers 100 and     first outrigger 110, the second outrigger L20. and the stabil-
    the stability foot 130. While the fire apparatus 10 is being      ity foot 130 are disposed a stowed position (e.g., not
    driven or not in use, the actuators ofthe first outripger 110,    actuated, not extended, etc.). The first outrigger 110, the
    the second outrigger 120, and the stability foot 130 may          second outrigger 120, and the stabilit"v foot L30 may renrain
    retract portions of the outriggers 100 and the stability foot 60 in the stowed position while the fire apparatus 10 is being
    130 into a stored position.                                       driven, while the fire apparatus 10 is not in operation (e.9.,
        As shown in FIGS. l0 and 12, the single rear axle l8          not being used, parked, ctc.), or any other time the aerial
    includes a differential 62 coupled to a pair ofhub assemblies     ladder assernbly 200 is not being utilized during a fire or
    64 with a pair of axle shaft assemblies 52. As shown in           rescue sinration.
    FIGS. 10 and 12, the single rear axle 18 includes a solid axle   65   As shown in FIGS. 14-15, the first outrigger 110, the
    configuration extending laterally across the frame 12 (e.g.,      second outrigger 120, and the stability foot 130 are disposed
    chassis, etc.). A rear suspension, sho*'n as rear suspension      in a fully exten<led position. As shown in FIG. 14. the first
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       outrigger 110 includes a first frame member, shown as first               Referring to FIGS. 13-14, the flre apparatus 10 includes a
       lateral member 112, a first actuatot shown as first cylinder           pair offront tires. shown as front tires 17, and a set ofrear
       114. and a first contact pad, shown as first contact pad LL8.          tires, shown as rear tires L9. When achrated. the first
       The Iirst cylinder 114 includes a lirst cylinderbarrel, shown          outrigger 110, the second outrigger L20, and the stability
       as fust cylinder barrel L15, and a first rod, shown as first rod    s foot 130 elevate the rear section 16 ofthe fire apparatus 10
       116. The first rod 116 is coupled to the first contact pad 118.        from the ground surface 1?0. The front tires 17 may remain
       The first cylinder 114 is positioned to extend the first contact       in contact with the ground surface 170. while the rear tires
       pad 118 downward by extending the first rod 116 from the               19 may be lifted a height, shown as hcight 150. above the
       first cylinder barrel 115. The fust cylinder 114 extends the           ground surface 170. In one embodiment, the height 150 is
       first contact pad 11.8 into contact with a ground surface,          l0 less than t*'elve inches. In other embodirnents, the height
       shown as ground surface 170. In one embodiment, the first              150 is at least twelve inches.
       cylinder 114 is a hydraulic cylinder. In other embodiments,               Referring now to FIGS. 16-17, the aerial ladder assembly
       the first cylinder 114 is another type ofactuator (e.g., a linear      200 ofthe fire apparatus 10 includes a plurality ofextensible
       actuatol a rotary actuatot or still another type of device,            ladder sections. As shown in FIGS. 16-L7, the plurality of
       etc.) that may be powered hydraulically, electrically, or still     ts extensible ladder sections includes a fust ladder section,
       otherwise powered.                                                     shown as base section 220, a second ladder section, shown
          As shown in FIGS. 14-15, the second outrigger 120                   as lower middle section 240, a third ladder section, shown as
       includes a second frame member, shown as second lateral                uppermiddle section 260, and a fourth ladder section, shown
       member 122, a second actuatot shown as second cylinder                 as fly section 280. The first end 202 of the aerial ladder
       124, and a second contact pad, shown as second contact pad          zo assembly 200 may be the proximal end (e.g., base end, pivot
       128. The second cylinder 124 includes a second cylinder          end, etc.) ofthe base section 220. The second end 204 ofthe
       barrel, shown as second cylinder barrel 125, and a second        aerial ladder assembly 200 may be the distal end (e.g., free
       rod, shown as second rod 126. The second nod 126 is              end, platform end, implement end, etc.) of the fly section
       coupled to the second contact pad 128. The second rylinder       280. According to an exemplary embodinent, the second
       L24 is positioned to extend the second contact pad 128 zs end204 ofthe aerial ladder assernbly 200 (i.e., the distal end
       downward by extending the second rod 126 from the second         of the fly section 280. etc.) is extensible to the horizontal
       cylinder barrel 125. The second rylinder 124 extends the         reach ofat least 90 feet (e.g., at least 100 feet, etc.) when the
       second contact pad 128 into contact with the ground surface      aerial ladder assembly 200 is selectively repositioned into a
       170. In one embodiment, the second cylinder 124 is a             plurality of operating orientations.
       lrydraulic cylinder. In other embodiments. the second cyl- 30 As shown in FIGS. 16-21, a load, shown as load 600 (e.g.,
       inder 124 is another type of actuator (e.g., a linear actuator,  tip load, tip capacity, etc.), may be applied to the aerial
       a rotary actuatot or still another type of device, etc.) that    ladder assembly 200 (e.g., at the furthest-most rung of fly
       may be powered hydraulically, electrically, or still otherwise   section 280, etc.), and various components of the fire appa-
       powered.                                                         ratus 10 each have a center of gravity C'CG'). Such com-
          According to the exemplary embodiment shown in FIGS. 35 ponents may have a first CG, showl as ladder assernbly CG
       6 and 13-14, a housing, shown as outrigger housing 106,          610, a second CG, shown as front cabin CG 620, a third CG,
       slidably couples the first outrigger 110 and the second          shown as pump CG 630, a fourth CG, shown as water tank
       outrigger L20 to the frame 12. As shown in FIGS. 13-14, the      CG 640, a fifth CG, shown as rear section CG 650, and a
       first lateral member ll2 and the second lateral member 122       sixth CG, shown as tumtable CG 660. The ladder assembly
       are disposed in the fully extended position and spaced a 40 CG 6L0 may be representative of the CG of the four ladder
       distance 160. In one embodiment, an actuator (e.g., a linear     sections of the aerial ladder assembly 200 (e.g., the base
       actuator, a rotary actuator etc.) or a pair of actuators is      section 220, the lower middle section 240, the upper middle
       positioned within the outrigger housing 106 to extend the        section 260, the fly section 280, etc.). The front cabin CG
       first lateral member 112 and the second lateral member 122       620 may be representative of the CG of the various com-
       laterally outwarcl from opposing lateral sides of the frame 4s ponents in and anrund the front cabin 20 (e.g., the front axle
       12. The distance 160 may be the distance between the center      18, front tires L7, front suspension 54, front body assembly,
       of the first contact pad 118 and the center of the second        front portion of the chassis, etc.). The pump CG 630 may be
       contact pad 128 when the pair of outriggers 100 is fully         representative of the CG ofthe prmp22 and the components
       extended. In one embodiment, the distance 160 is no more         of the pump house 50. The water tank CG 640 may be
       than eighteen feet. In other embodiments. the distance 160 so representative of the CG of the water tank 58. The rear
       is greater than eighteen feet.                                   section CG 650 may be representative of the CG of the
          As shown in FIG. 14, the stability foot 130 includes a        various component ofthe rear section 16 (e.g., the rear axle
       third actuator, shown as third cylinder 134, and a third         18, rear tires 19, outriggers 100, stability foot 130, torque
       contact pad, show,n as third contact pad 138. The third          box 400. pedestal 402, ground ladders 46. rear body assem-
       cylinder 134 includes a third cylinder barrel, shown as third 5s bly, rear portion of the chassis, etc.). The tumtable CG 660
       cylinder barel 135, and a drird rod, shown as third rod 136.     rnay be representative of the CG of the tumtable 300.
       The third rod 136 is cr:upled to the third contact pad 138.         As shown in FIGS. 18-21, the aerial ladder assembly 200
       The third cylinder 134 is positioned to extend the third         is disposed in a retracted conliguration. During operation,
       contact pad 138 downward by extending the third rod 136          the aerial ladder assembly 200 rnay be extended as shown in
       from the third cylinder barrel 135. The third cylinder 134 oo FIGS. 16-17. While shown in FIGS. 18-21 as disposed in the
       extends the third contact pad 138 into contact with the          retracted configuration, it should be understood that the
       ground surface 170. ln one embodiment, the third cylinder        aerial ladder assembly 200 may bc cxtended during usc in
       134 is a hydraulic cylinder. In other embodiments, the rhird     various operating orienlations. A variety of stability lines are
       cylinder 134 is another type of actuator (e.g.. a linear         generated for the fire apparatus l0 u'hile in the various
       actuator, a rotary actuator, or still another type of device, os operating orientations. The stability lines rnay be disposed
       etc.) that rnay be powered hydraulically, electrically, or still along the single front axle 18, tluough the center of the
       otherwise powered.                                               single front axle 18 and one ofthe first oulrigger 110 and the
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                                   t1                                                                       t2
    second outrigger 120, through the stability foot 130 and one             apparatus 10, biased towards the front cabin 20. As shown
    of the first outrigger 110 and the second outrigger 120, or              in FIG. 19, the fire apparatus 10 includes a stability line 510
    laterally across the stability lbot 130, among other alterna-             when the aerial ladder assembly 200 is selectively posi-
    tives.                                                                    tioned in the forward angled position (e.g., a forward angled
       The various components ofthe fire apparatus 10 produce             s position to the right side, a forward angled position to the left
    a positive moment or a negative moment that varies based on               side, etc.). As shown in FIG. 19, the aerial ladder assembly
    the Iocation of their respective CGs. Positive moments (e.g.,             200 is selectively positioned to extend offto the right side of
    torques, etc.) may be generated by load 600 and the weights
                                                                              the fire apparatus 10 at a forward angle. 1'he stability line
    of components having CGs located on a first side of the
                                                                         , - 510 may extend through the center of the single front axle
    stability line (e.g., a side of the stability line where the load    ru 18 andthe second outrigger 120. In otherembodiments, the
    600 is located, etc.). Negative moments may be generated by
                                                                              aerial ladder assembly 200 is selectively positioned to
    the weights of components having CGs located on an
                                                                              extend offto the left side of the fire apparatus 10 at a forward
    opposing second side of the stability line (e.g., a side of the
    stability line where the load 600 is not located, etc.).                  angle, and the stability line 510 may extend through rhe
    According to an exemplary embodiment, various compo-                 15 center ofthe single front axle 18 and the first outrigger 110.
    nents of the fue apparatls 10 (e.g., frame 12, tumtable 300,              As shown in FIG. 19, when the load 600 is applied to the
    rear section 16, pump 22, water tank 58, etc.) are positioned             second end 204 of the aerial ladder assembly 200 while in
     such that their weights counterbalance a total positive                  the second operating orientation, the load 600 generates a
    moment (e.g., generated by load 600 and the weights of                    first positive moment 512 about the stability line 510. The
     components having CGs located on the first side of the              26 ladder assembly CG 610 generates a second positive
     stability line, etc.) when the aerial ladder assembly 200 is             moment 512 about the stability line 510. The fiont cabin CG
     extended to the horizontal reach ofat least 90 feet (e.g., at            620 may generate a negligible moment about the stability
     least 100 feet, etc.). The magnitude of the positive and                 line 510 as the front cabin CG 620 may be substantially
    negative moments are proportional to the distances (e.g.,                 disposed along the stability line 510. The pump CG 630, the
    perpendicular distances, etc.) between the component's CG            2s water tank CG 640, the rear section CG 650, and the
    and the stability line (e.g., a greater distance from the                 turntable CG 660. among other components, generate nega-
     stability line increases the moment, a shorter distance from             tive moments 514 about the stability line 510. In the second
    the stability line decreases the moment, a CG disposed on                 operating orientation, the negative moments 514 at least
    the stability line results in a negligible moment or zero                 balance the positive moments 512 while the aerial ladder
    moment, etc.).                                                       lo assembly 200 is extended to the horizontal reach ofat least
        As shown in FIGS. 16-18, the aerial ladder assembly 200               90 feet (e.g., at least 100 feet, etc.) and a load 600 ofat least
    is configured in a first operating orientation. In the first              750 pounds is applied.
    operating orientation, the aerial ladder assembly 200 is                     As shown in FIG. 20, the aerial ladder assembly 200 is
    disposed in a forward position in which the aerial ladder                 configured in a third operating orientation. In the third
    assembly 200 extends over the liont cabin 20 (e.g.. parallel         :s operating orientation, the aerial ladder assembly 200 is
    to the longitudinal axis 1.4. etc.). When aerial ladder assem-            disposed in a sideward position in which the aerial ladder
    bly 200 is extended, the ladder assembly CG 610 may be                   assembly 200 extends from a lateral side of the chassis (e.g.,
    positioned forward of the front cabin 20 (e.g., within the               perpendicular to the longitudinal axis 14, etc.). As shown in
    lower middle section 240, near the connection between the                FIG. 19, the fire apparatus 10 includes a stability line 520
    lower middle section 240 and the upper middle section 260            +0 when the aerial ladder assembly 200 is selectively posi-
    of the aerial ladder assembly 200, etc.). As shown in FIG. 18,           tioned in the third operating oricntation (e.g.. laterally to the
    the fire apparatus 10 includes a stability line 500 when the             right side, laterally to the left side, etc.). As shown in FIG.
    aerial ladder assembly 200 is selectively positioned in the              19, the aerial ladder assembly 200 is selectively positioned
    first operating orientation (e.g., a forwardposition, etc.). The         to extend laterally offto the right side ofthe fire apparatus
    stability line 500 is disposed along the single front axle 18.       +s 10. The stability line 520 may extend through lhe center of
    As shown in FIG. 18, when the load 600 is applied to the                 the single front axle 18 and the second outrigger 120. In
    second end 204 ofthe aerial ladder assembly 200 while in                 other embodiments, the aerial ladder assembly is selectively
    the first operating orientation, the load 600 generates a first          positioned to extend laterally ofto the left side ofthe fire
    positive moment 502 abort the stability line 500. The ladder             apparatus L0, and the stability line 520 may extend through
    assembly CG 610 generates a second positive moment 502               so the center ofthe single front axle 18 and the first outrigger
    about the stability line 500. The front cabin CG 620 may                 110. As shown in FIG. 20, when the load 600 is applied to
    generate a negligible moment about the stability line 500 as             the second end 204 of the aerial ladder assembly 200 while
    the front cabin CG 620 may be substantially disposed along               in the third operating orientation, the load 600 generates a
    the stability line 500. The pump CG 630, the water tank CG               first positive moment 522 about the stabilit_v line 520. The
    640, the rear sectiorl CG 650, and the tumtable CG 660,              ss ladder assembly CG 610 gererates a second positive
    arnong other conponeflts, generate negative moments 504                  moment 522 about the stability line 520. The front cabin CG
    about the stability line 500. In the first operating orientation,        620 nay generate a negligible moment about the stability
    the negative moments 504 at least balance the positive                   line 520 as the liont cabin CG 620 may be substantially
    moments 502 while the aerial ladder assernbly 200 is                     disposed along the stability line 520. The pump CG 630. the
    extended to the horizontal reach ofat least 90 feet (e.g., at        60 water tank CG 640, the rear section CG 650, and the
    least 100 l'eet, etc.) and a load 600   ofat   leasr 750 pounds is       turnlable CG 660. among other components, generate nega-
    applied.                                                                 tive nroments 524 about the stabilit"v line 520. In the third
       As shown in FIG. L9, the aerial ladder assembly 200 is                operating orientation, the negative moments 524 at least
    conflgrued in a second operating orientation. In the second              balance the positive moments 522 while the aerial ladder
    operating orientation, the aerial ladder assembly 200 is             os assembly 200 is extended 1o the horizontal reach of at least
    disposed in a forward angled position in which the aerial                90 feet (e.g., at least 100 feet. etc.) and a load 600 ofat least
    ladder assembly 200 exlends ofl 1o a side of the fire                    750 pounds is applied.
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                                     13                                                                     l4
         As shown in FIG. 21, the aerial ladder assembly 200 is                 sions, structures, shapes and proportions     of the various
       configured in a fourth operating orientation and a fifth                 elements, values of parameters, mounting arrangeme[ts, use
       operating orientation. In the fourth operating orientation, the          of materials, colors. orientations, etc.) without materially
       aerial ladder assembly 200 is disposed in a rearward angled              departing from the novel teachings and advantages of the
       position in which the aerial ladder assembly 200 is extended        s    subject matter recited. For example. elements shown as
       offto a side of the fire apparatus 10. biased towards the rear           integrally formed may be constructed of multiple parts or
       section 16. As shown in PIG. 21, lhe fire apparatus 10                   elements. It should be noted that the elements and/or assem-
       includes a stability line 530 when the aerial ladder assembly            blies of the cornponents described herein may be constructd
       200 is selectively positioned in the fourth operating orien-             from any of a wide variety of materials that provide sufi-
       tation (e.g., a rearward angled position to the right side, a to         cient strength or durabiliry in any of a wide variety of
       rearw-ard angled position to the left side, etc.). As shown in           colors. textures, and combinations. Accordingly, all such
       FIG. 21, the aerial ladder assembly 200 is selectively                   modifications are intended to be included within the scope of
       positioned to extend ollto the right side ofthe fire apparatus           the present inventions. Other substitutions, modificatiorx,
       L0 at a rearward angle. The stability line 530 extends                   changes, and omissions may be made in the design, oper-
       through the second outrigger 120 and the stability foot 130. ts          ating conditions, and arrangement ofthe preferred and other
       In other embodirnents, the aerial ladder assembly 200 is                 exemplary embodiments without departing from scope of
       selectively positioned to extend of to the left side of the fue          the present disclosure or from the spirit of the appended
       apparatus 10 at a rearward angle, and the stability line 530             claims.
       extends through the first outrigger 110 and the stability foot              What is claimed is:
       130. As shown in FIG. 21, the load 600 is applied to the 20                 l. A quint configuration fue apparatus, comprising:
       second end 204 of the aerial ladder assembly 200 while in                   a chassis;
       the fourth operating orientation, and the load 600 generates                a body assembly coupled to the chassis and having a
       a fimt positive momert 532 about the stability line 530. The                   storage area configured to receive a ground ladder and
       ladder assembly CG 610 generates a second positive                             a fire hose;
       rnornent 532 about the stability line 530. The lront cabin CG zs            a pump coupled to the chassis;
       620, the pump CG 630, the water tank CG 640, the rear                       a water tank coupled to the chassis;
       section CG 650, and the turntable CG 660, among other                       a ladder assembly including a plurality of extensible
       components, generate negative moments 534 about the                            ladder sections, the ladder assembly having a proximal
        stability line 530. In the fourth operating orientation, the                  end that is coupled to the chassis;
       negative moments 534 at least balance the positive moments :o               a single front axle coupled to a front end ofthe chassis;
       532 while the aerial ladder assembly 200 is extended to the                   and
       horizontal reach of at least 90 feet (e.g., at least 100 feet,             a single rear axle coupled to a rear end of the chassis,
       etc.) and a load 600 ofat least 750 pounds is applied.                       wherein the single rear axle comprises either:
           FIG. 21 also shows the aerial ladder assembly 200 con-                      a single solid axle configuration extending laterally
        figured in a fifth operating orientation. In the fifth operating 35               across the chassis, or
        orientation, the aerial ladder assernbly 200 is disposed in a                  a fust axle having a first constant velocity joint and
       rearward position in which the aerial ladder assembly 200                          a second axle having a second constant velocity
        extends away from the front cabin 20 (e.g., parallel to the                       joint, the 6rst axle and the second axle extending
        longitudinal axis 14, opposite ofthe first operating orienta-                      from opposing lateral sides ofa differential;
        tion, etc.). As shown in FIG. 21, the fire apparatus 10 +o                wherein the ladder assembly is extensible to provide a
        includes a stability line 540 when the aerial ladder assembly                horizontal reach ofat least 90 feet and a vertical height
        200 is selectively positioned in the fifth operating orientation             of at least 95 feet, wherein the ladder assembly is
        (e.g., an opposing rearward position, etc.). The stability line              configured to support a tip load of at least 750 pounds,
        540 is a line disposed laterally across the stability foot 130               wherein the water tank is configured to contain at least
        (e.g., perpendicular to the aerial ladder assembly 200, per- +s              500 gallorx of water, and wherein the center of gravity
        pendicular to the longitudinal axis 14, etc.). As shown in                   of at least one of the chassis, the body assembly, the
        FIG. 21, when the load 600 is applied to the second end 204                  pump, and the water tank are positioned to counterbal-
        of the aerial ladder assembly 200 while in the fifth operating               ance a moment generated by the tip load with the ladder
        orientation, the load 600 generates a first positive rnoment                 assembly extended to the horizontal reach ofat least 90
        542 about the stability line 540. The ladder assembly CG so                  feet.
        610 generates a second positive moment 542 about the                       2. The fire apparatus of claim   l,   further comprising   a
        stability line 500. The front cabin CG 620, the pump CG                 pedestal coupling the ladder assembly to the chassis and
       630, the water tank CG 640, the rear section CG 650, and the             defining an axis about which the ladder assembly is config-
       tumtable CG 660, among other components, generate nega-                  ured to rotate.
       tive moments 544 about the stability line 540. In the fifth         ss      3. The fire apparatus of claim 2, furdrer comprising a
       operating orientation, the negative monte.nts 544 at least               turntable rotatably coupling the proxirnal end ofthe ladder
       balauce the positive nlomellts 542 while the aerial ladder               assembly to the pedestal such that the ladder asseurbly is
       assembly 200 is extended to the horizontal reach ofat least              selectively repositionable into a plurality of operating ori-
       90 feet (e.g., at least 100 feet, etc.) and a load 600 ofat least        entations, wherein the horizontal reach is defined between
       750 pounds is   applied.                                            60   the axis about which the ladder assembly is configwed to
          It is important to note that the construction and arrange-            rotate and a distal end ofthe ladder assembly, and wherein
       ment of thc elements of the systems and methods as shown                 the venical height is defincd between a distal rung ofthe
       in   the exemplary entbodiments are illustrative only.                   ladder assembly and a ground surface.
       Although only a ferv embodiments of the present discloswe                   4. The fire apparatus of claim 3, further comprising a cab
       have been described in detail, those skilled in the an w'ho         os   assembly coupled to the front end ofthe chassis, r*'herein the
       review this disclosure w-ill readily appreciate that many                plurality of operating orientations includes a forward posi-
       urodifications are possible (e.g., variations irl sizes, dimen-          tion in which the ladder assembly extends over the cab
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                                  15                                                                   16
    assembly, a rearward position in which the ladder assembly             the axis about which the ladder assembly is configured to
    exterds away from the cab assembly, and a sideward posi-               rotate and a distal end of the ladder assembly.
    tion in which the ladder assernbly extends frorn a lateral side           14. The fire apparatus of claim 13, further comprising a
    of the chassis.                                                        cab assembly coupled to the front end of the chassis,
       5. The fue apparatus of claim 4, wherein the plurality of      5    wherein the plurality of operating orientations includes a
    extensible ladder sections includes a first ladder section, a          forward position in which the ladder assembly extends over
    second ladder section, a third ladder section, and a fourth            the cab assembly, a rearward position in which the ladder
    tadder section, wherein the distal end of the ladder assembly          assembly extends away from the cab assembly, and a
    is extensible to the horizontal reach of at least 90 feet when
                                                                           sideward position in which the ladder assembly extends
    the ladder assembly is oriented in the sideward position.         to   fro- a lateral side ofthe chassis.
       6. The fire apparatus of claim 1, further comprising a pair
                                                                              15. The fire apparatus ofclaim 14, wherein the plurality
    ofoutriggers coupled to the chassis and moveable betwee[
    a fully extended position and a retracterl position, wherein
                                                                           ofextensible ladder sections includes a fint ladder section,
    the pair ofoutriggers protrude frorn opposing lateral sides of
                                                                           a second ladder section, a third ladder section, and a fourth
    the chassis when in the fully extended position.                  ,.
                                                                      '"   ladder section, wherein the distal end of the ladder assembly
       7. The fire apparatus ofclaim 6, wherein a pair ofcontact
                                                                           is exensible to lhe horizontal reach of at least 90 feet when
    pads associated with the pair of outriggers are spaced a               the ladder assembly is oriented in the sideward position.
    distance ofno more than 1 8 feet when the pair of outriggers              16. The fire apparatus of claim Ll, further cornprising a
    are in the fu1ly extended position.
                                                                           pair of outriggers coupled to the chassis and moveable
                                                                      ,n   between a fully extended position and a retracted position,
       8. The fire apparatus of claim 7, wherein the single rear      '-
    axle has a gross axle weight rating of oo more than 33,500             wherein the pair ofoutriggers protrude from opposing lateral
    pounds.                                                                sides of the chassis when in the fully extended position.
       9. The fue apparatus of claim 8, further comprising at                 17. The fire apparatus of claim 16, wherein a pair of
    least one of a leaf spring suspension system and an air                contact pads associated wirh the pair of outriggers are
                                                                      ,.   spaced a distance ofno more than 18 feet when the pair of
    suspension system coupling the single solid axle conligu-         '"
    ration to the chassis.                                                 outriggers are in the fully extended position.
                                                                              18. The fire appantus of claim 17, wherein the single rear
       10. The fire apparatus ofclaim 8, further comprising a first
    independent suspension assembly coupled to the first axle              axle has a gross axle weight rating of no more than 33,500
                                                                           pounds.
    and a second independent suspension assembly coupled to
    the second axle.                                                     .
                                                                              19. The fue apparatus of claim 18, further comprising
                                                                      30erther:
       11. A fire apparatus, comprising:
                                                                             at least one of a leaf spring suspension system and an air
       a chassis;
       a body assembly coupled to the chassis and configured to
                                                                                suspension system coupling the single solid axle con-
        receive a ground ladder. a fire hose, a pump, and a                     figuration to the chassis, or
        water tank;                                                   i{     a first independent suspension assembly coupled to the
      a ladder assembly including a plurality of extensible                     first axle atrd a second independent suspension assem-
        ladder sections, the ladder assernbly having a proximal                 bly coupled to the second axle.
        end that is coupled to the chassis:                                  20. A quint configuration fire apparatus, comprising:
      a single front axle coupled to a front end ofthe chassis;              a chassis;
                                                                      4o     a body assembly coupled to the chassis and having a
         and                                                          '"        storage area configured to receive a ground ladder and
      a single rear axle coupled to a rear end of the chassis,
        wherein the single rear axle comprises either:                          a fire hose;
                                                                             a pump coupled to the chassis;
           a single solid axle configuration extending laterally
                                                                             a water tank coupled to the chassis;
               across the chassis, or
           a first axle having a first constant velocity joint and    4<     a ladder assembly including a plurality of extensible
                                                                      '-        ladder sections, the ladder assembly having a proximal
               a second axle having a second constant velocity
              joint, the first axle and the second axle extending               end that is coupled to the chassis;
               from opposing lateral sides ofa differential;                 a single front axle coupld to a front end of the chassis;
      wherein the ladder assembly is exlensible to provide a                   and
        horizontal reach ofat least 90 feet, wherein the ladder       so     a single rear axle coupled to a rear end of the chassis,
        assembly is configured to suppon a tip load of at least
                                                                               wherein the single rear axle comprises either:
        750 pounds, wherein the water tank is configured to                       a single solid axle configuration extending laterally
                                                                                     across the chassis. or
        contain at least 500 gallons of water, and wherein the
                                                                                  a fust axle having a first constant velocily joint aM
        center ofgravity ofat least one ofthe chassis, the body
        assembly, the pump, and the water tank are positioned         s{             a second axle having a second constant velocity
        to counterbalance a mornent generated by the tip load                        ioint. the first axle and the second axle extending
        with the ladder assernbly extended to the horizontal                         from opposing lateral sides ofa differential;
         reach of at least 90 J'eet.
                                                                             wherein the ladder assembly is extensible to provide a
       12. The fire apparatus of claim 11, further comprising a                horizontal reach ofat least 9O feet and a vertical height
    pedestal coupling the ladder assembly to the chassis and                   of at least 95 feet, wherein the ladder assernbly is
    defining an axis about which the ladder assembly is config-                configured to support a tip load of at least 750 pounds,
    ured to rotate.                                                            and wherein the center ofgravity ofat least one ofthe
      L3. The fire apparatus of claim 12. further comprising a                 chassis, the body assembly, the purnp, and the water
    tumtable rotatably coupling the proximal end of the ladder                 tank are positioned to counterbalance a moment gen-
    assembly to the pedestal such lhat the ladder assembly is                  erated   by the tip load r*'ith the ladder assernbly
    selectively repositionable into a plurality of operating ori-              extended to the horizontal reach   of at least 90 feet.
    entations, wherein the horircntal reach is defined between                                   *****
